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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

    MAYA PARIZER et al.,

                       Plaintiffs,                   Civil No. 1:24-00724-RDA-IDD

            v.

    AJP EDUCATIONAL FOUNDATION, INC.
    et al.,

                    Defendants.


                                         ORDER

       Upon consideration of Defendant AJP Educational Foundation, Inc. d/b/a American

Muslims for Palestine’s (“AMP”) Unopposed Motion for Extension of Time to File Responsive

Pleadings, it is hereby:

       ORDERED that Defendant AMP’s motion is GRANTED; and further

       ORDERED that Defendant AMP shall file its response by July 12, 2024.

       IT IS SO ORDERED.

                                          _________________________________
                                          United States District Court
                                          United States District Judge




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